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UN|TED STATES DlSTF{lCT COUF\'T Fl!ED BY ' D(`
WESTERN DlSTRlCT OF TENNESSEE “" '“'

MEMPH|S DIV|SION 95 JUL 25 PH 3: 3h

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-v- 2:04CR20456-01-B CLE§;§}[¢!§ 1111 xii'i?pjggum

UN|TED STATES OF ANIER|CA

SYLVlA JOHNSON
Eugene Laurenzi, CJA
Defense Attorney
50 North Front Street, Suite 800
N|emphis, TN 38103

 

JUDG|V|ENT lN A CR|NI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on April 19, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section MM Offense Md§l
M_C_lud_ed
18 U.S.C. § 513 (a) Uttering or Possession of Counterfeit 12/17/2002 1

Security

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteforrn Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996

Counts 2 and 3 are dismissed on the motion of the United States.

lT lS FURTHEF! ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 5/23/1977 Ju|y 21, 2005
Deft’s U.S. lVlarshaf No.: 20047-076

D_efendant’s l\/lailing Address:
2794 Lake Park Fload
l\/lemphis, TN 38127

   

 

 

J. DAN!EL shEEN
uNriED sTATEs DlsTnlcT Juoes

Juiy 25 ,2005

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with Flule 55 and/or 32{

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

Whi|e on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligationl it shall be a condition of probation that the defendant pay any such file
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPEFIV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission ot the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lt thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance With the Schedule of Payments set
forth in the Crimina| Nlonetary Pena|ties sheet of this judgment.

ADD|T|ONAL CONDIT|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1 .

Participate in the Home Detention program for a period of 6 llllonths. During this
time, defendant will remain at defendant’s place of residence exceptfor employment
and other activities approved in advance by the Defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for
use in the Western District of Tennessee, which may include the requirement to
wear an electronic monitoring device and to follow electronic monitoring procedures
specified by the Probation Officer.

Participate in substance abuse testing and treatment programs as directed by the
Probation Officer.

l\/lake full financial disclosure as requested by the Probation Officer.
Provide third party risk notification.

Do not acquire any new financial obligations without the permission of the Probation
Officer.

Cooperate with DNA collection as directed by the Probation Officer.

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CRII\lllNAL NIONETARV PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Tota| Restitution

$100.00 $2,000.00

The Specia| Assessment shall be due immediate|y.

FlNE
A Fine in the amount of $ 2,000.00 is imposed.

RESTITUT|ON

No Restitution was ordered

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SCHEDULE OF PAYN|ENTS

Having assessed the defendant’s ability to payl payment of the total criminal monetary penalties
shall be due as foilows:

E. Speciai instructions regarding the payment of criminal monetary penalties:

Defendant shall pay the fine in regular monthly installments of not less than 10% of
her gross monthly income.

Uniess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Ail criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financiai Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-20456 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

Vaieria Rae Oiiver

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Eugene A. Laurenzi

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Honorable J. Breen
US DISTRICT COURT

